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11

12                                UNITED STATES DISTRICT COURT

13                              EASTERN DISTRICT OF CALIFORNIA

14   JEREMY BORGIA and JULIET OSMER,                          Case No. 2:20-CV-00981-KJM-DB
     individually and on behalf of all others similarly
15   situated,                                                DEFENDANT’S MEMORANDUM OF
                             Plaintiff,                       POINTS AND AUTHORITIES IN
16                                                            SUPPORT OF MOTION TO DISMISS
            v.
17                                                            Judge:    Kimberly J. Mueller
     GOLI NUTRITION INC., A Delaware                          Date:     October 16, 2020
18   Corporation,                                             Time:     10:00 a.m.
                       Defendant.                             Dept:     Courtroom 3, 15th Floor
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                                                              Complaint Filed: May 14, 2020
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 1   I.      INTRODUCTION

 2           Plaintiffs Jeremy Borgia and Juliet Osmer (“Plaintiffs”) wrongly allege that Goli Nutrition

 3   Inc. (“Defendant” or “Goli”) misleadingly markets its Apple Cider Vinegar Gummies (“Product” or

 4   “gummies”). Plaintiffs claim Goli’s statement that “2 gummies is equal to 1 shot of Apple Cider

 5   Vinegar” (the “2=1 Statement”) is inaccurate. But the 2=1 Statement actually made by Goli is not

 6   even Plaintiffs’ focus—Plaintiffs claim that the statement is misleading because two gummies

 7   allegedly contain less acetic acid than 30 milliliters of apple cider vinegar (“ACV”). Plaintiffs

 8   ignore, or gloss over, the fact that the 2=1 Statement made by Goli makes a claim about ACV, not

 9   acetic acid, as well as that 30 milliliters of ACV is not “1 shot” of ACV. No reasonable consumer

10   of ACV gummies would be misled as alleged by Plaintiffs. Each of Plaintiffs’ claims is without

11   merit and subject to dismissal for this and several other reasons, as follows:

12           First, Plaintiffs’ claims are preempted by the Federal Food, Drug, and Cosmetic Act

13   (“FDCA”). Plaintiffs allege that the 2=1 Statement violates the FDCA’s catch-all provision, and

14   thus California’s Sherman Law. This claim is barred because the 2=1 Statement follows federal

15   regulations setting vinegar’s serving size at one tablespoon.

16           Second, because Plaintiffs’ allegations sound in fraud, they must satisfy Federal Rule of

17   Civil Procedure 9(b)’s heightened pleading standard. Rule 9(b) requires that Plaintiffs specify the

18   “who, what, when, where, and how” of the misconduct alleged with sufficient particularity.

19   Plaintiffs’ claims fall well short of that standard in several critical areas, and thus fail to state a

20   cognizable claim for relief.

21           Third, the California and Florida consumer protection law violations alleged in the

22   Complaint fail for a number of reasons. Plaintiffs do not allege actual reliance on the 2=1 Statement,

23   as required by California law. Dismissal of both the California and Florida statutory claims is also

24   justified because no reasonable consumer would think the 2=1 Statement, which does not reference

25   acetic acid, guarantees a specific acetic acid content—and any ambiguity is clarified by supplement

26   facts on the product label that unambiguously and accurately indicate that one two-gummy serving

27   contains 1000 milligrams of ACV with 5% acetic acid. Moreover, the Product’s 2=1 Statement

28   qualifies for the “safe harbor” contained in Florida’s statute, and therefore is not actionable, because

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 1   it complies with state or federal law.

 2           Finally, no claim for express warranty was properly alleged because no “specific and

 3   unequivocal written statement” that can be construed as an explicit guarantee is identified.

 4           For all of these reasons, Defendant Goli respectfully requests that Plaintiffs’ Complaint be

 5   dismissed in its entirety, with prejudice.

 6   II.     BACKGROUND

 7           Plaintiff Borgia allegedly purchased Goli’s ACV gummies in October and November of

 8   2019. See Compl., ¶ 11. Plaintiff Osmer allegedly made her purchase in March of 2020. Id., ¶ 12.

 9   Plaintiffs claim to have reviewed the 2=1 Statement and other unspecified “labels, disclosures,

10   warranties, and marketing materials” before they purchased the Product. Id., ¶¶ 11, 12. Based on

11   what they saw, Plaintiffs claim they bought the Product at “a substantial price premium” (though

12   they do not indicate what this “price premium” was). Id. However, it is unclear what, exactly,

13   Plaintiffs claim to have viewed. Included in the Complaint are two photographs. The first is a

14   screenshot from Defendant’s website depicting the front label of the Product, which bears the 2=1

15   Statement. Compl., ¶ 22. The second is a photograph of a hand holding up what is presumably one

16   of the Products that Plaintiffs actually purchased to display its back label. Id., ¶ 23. Why would

17   Plaintiffs choose not to use a picture of the front label of the Product as actually purchased? The

18   answer is that doing so would defeat the entire premise of Plaintiffs’ claims, because the 2=1

19   Statement was removed from the Product’s label in June of 2019. And even prior to June 2019, the

20   2=1 Statement did not appear on any labels affixed to bottles of the Product shipped to brick and

21   mortar retail stores for sale. Declaration of Kathleen Power In Support of Motion to Dismiss

22   (“Power Decl.”) ¶ 3; Exhibits A and B (true and correct copies of the Product label as it appeared

23   prior to, and the latest version of the label after, June 2019). Rather, the version of the Product’s

24   label bearing the 2=1 Statement was only affixed to some (but not all) bottles sold through online

25   purchases from Goli’s website prior to June 2019, and of the products sold online prior to June 2019,

26   only a relatively small number had a label including the 2=1 Statement. Id. Because both Plaintiffs

27   claim to have purchased the product after June 2019, they could not have seen the 2=1 Statement

28   on the product label and would not have relied on it in making their purchases. Plaintiffs do not

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 1   allege having reviewed the 2=1 Statement on Defendant’s website. See Compl., ¶¶ 11, 12. Moreover,

 2   Defendant has no record of any purchase of the Product made by Plaintiff Osmer, further calling

 3   into question the propriety of including her as a Plaintiff in this action. Power Decl., ¶ 4.

 4           Plaintiffs seek to represent a nationwide class of persons “who purchased Goli branded

 5   dietary supplements during the class period[.]” Compl., ¶ 36. Plaintiff Borgia also seeks to represent

 6   a California Subclass, and Plaintiff Osmer also seeks to represent a Florida Subclass. See id., ¶¶ 37,

 7   38. Plaintiff Borgia brings claims individually and on behalf of the California subclass under

 8   California’s False Advertising Law (“FAL”), Unfair Competition Law (“UCL”), and Consumer

 9   Legal Remedies Act (“CLRA”). Plaintiff Osmer brings claims individually and on behalf of the

10   Florida subclass under Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”). Finally,

11   Plaintiffs bring a claim for breach of express warranty on behalf of the nationwide class and the

12   subclasses. Plaintiffs seek statutory, compensatory, treble, and punitive damages, as well as

13   injunctive relief, restitution, attorneys’ fees, and costs of suit.

14   III.    LEGAL STANDARD

15           A.       Rule 12(b)(6)

16           To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

17   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

18   Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

19   “A claim is plausible on its face ‘when the plaintiff pleads factual content that allows the court to

20   draw the reasonable inference that the defendant is liable for the misconduct alleged.’” Simpson v.

21   Vantage Hosp. Grp., Inc., 2012 WL 6025772, at *3 (N.D. Cal. Dec. 4, 2012) (quoting Iqbal, 556

22   U.S. at 678). A complaint that provides no more than a “formulaic recitation of the elements of a

23   cause of action” will not suffice. Twombly, 550 U.S. at 555. Courts “are not bound to accept as true

24   a legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678. In deciding a 12(b)(6)

25   motion, “a court can consider documents attached to the complaint, documents incorporated by

26   reference in a complaint, or documents subject to judicial notice.” De Salles v. Cook, 2016 WL

27   9113995, at *2 (C.D. Cal. May 12, 2016) (citing U.S. v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)).

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 1           B.       Rule 9(b)

 2           Complaints grounded in fraud must “state with particularity the circumstances constituting

 3   fraud or mistake.” Fed. R. Civ. P. 9(b). They must state “the time, place, and specific content of the

 4   false representations” and identify all parties thereto. See Alan Neuman Prods., Inc. v. Alrbight, 862

 5   F.2d 1388, 1392-93 (9th Cir. 1988); Janney v. Mills, 944 F. Supp. 2d 806, 818 (N.D. Cal. 2013)

 6   (dismissing claims not specifying the false or misleading statements and their location, why they

 7   were false or misleading, and which statements were relied on). Where a plaintiff pleads a

 8   misrepresentation, “Rule 9(b) demands direct quotations” or other allegations sufficient to identify

 9   what the defendant “actually said.” Gross v. Symantec Corp., 2012 WL 3116158, at *4–5 (N.D.

10   Cal. July 31, 2012) (dismissing UCL and fraudulent inducement claims).

11   IV.     PLAINTIFFS’ CLAIMS ARE PREEMPTED BY THE FDCA

12           The statement “2 gummies is equal to 1 shot of Apple Cider Vinegar” complies with specific

13   federal regulations, and thus all of Plaintiff’s claims are preempted by federal law.

14   “The Supremacy Clause grants Congress the power to preempt state law” when it sets forth

15   requirements that are not identical to those imposed by federal law. See, e.g., In re Quaker Oats

16   Maple & Brown Sugar Instant Oatmeal Litigation, 2017 WL 4676585, at *4 (C.D. Cal. Oct. 10,

17   2017). The Federal Food, Drug, and Cosmetic Act (“FDCA”), “as amended by the Nutrition

18   Labeling and Education Act of 1990 (“NLEA”), sets forth a comprehensive set of food labeling

19   requirements.” Pardini v. Unilever United States, Inc., 961 F. Supp. 2d 1048, 1053 (N.D. Cal. 2013).

20   Pursuant to the FDCA, a food is deemed “misbranded” if its “labeling is false or misleading in any

21   particular.” 21 U.S.C. § 343(a)(1) (the “Catch-All Provision”). Though the FDCA does not include

22   a provision expressly preempting claims brought under the Catch-All Provision, “‘[t]he ability to

23   bring such a claim is not unlimited,’ . . . [and such claims are] barred if the challenged aspects of

24   the label complied with a specific federal regulation.” Coe v. General Mills, Inc., 2016 WL 4208287,

25   at *3-4 (N.D. Cal. Aug. 10, 2016) (quoting Reynolds v. Wal-Mart Stores, Inc., 2015 WL 1879615,

26   at *12 (N.D. Fla. Apr. 23, 2015); see also Red v. The Kroger Co., 2010 WL 4262037, at *5 (C.D.

27   Cal. Sept. 2, 2010) (explaining that, while the Catch-All Provision prohibits “false or misleading”

28   label claims, “nutrient content claims that are permitted under federal law . . . by definition, are not

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 1   considered ‘false or misleading’ under federal law.”) (emphasis in original); Reynolds, 2015 WL

 2   1879615, at *12 (“[W]here challenged conduct is expressly required or permitted by FDA

 3   regulations, the claims fall within the core of the preemption provision because they would impose

 4   different requirements on precisely those aspects . . . that the FDA had approved.”) (internal

 5   quotations omitted). In other words, label claims that comply with federal regulations cannot be

 6   “false or misleading” under the FDCA’s catch-all provision, and state-law claims to the contrary are

 7   preempted. See id.

 8           Plaintiffs claim that Defendant’s label and advertising are misleading under this section, and

 9   thus violate the Sherman Law, which adopts “[a]ll food labeling regulations . . . adopted pursuant

10   to the [FDCA]” as California’s food labeling regulations. Cal. Health & Saf. Code, § 110100(a).

11   However, the 2=1 Statement complies with specific federal regulations and thus Plaintiffs’ claim

12   that it violates the Catch-All Provision is preempted by federal law. See, e.g., Coe, 2016 WL

13   4208287, at *4.

14           Federal regulations provide that “all nutrient and food component quantities [listed on a

15   product’s label] shall be declared in relation to a serving[.]” 21 C.F.R. § 101.9(b). The serving size

16   for vinegar is one tablespoon, which is equivalent to 15 milliliters. 21 C.F.R. § 101.12(b). Further,

17   one tablespoon of liquid ACV weighs 14.9 grams, and ACV is 93.81% water.1 To calculate the dry

18   weight of one tablespoon of ACV, 93.81% of 14.9 grams must be subtracted from 14.9 grams.

19   93.81% of 14.9 is 13.7769, and 14.9 grams minus 13.97769 is approximately .9223 grams. Thus,

20   the dry weight of one serving, or “shot,” of ACV is approximately .9223 grams. As Plaintiffs admit,

21   “[t]wo of Defendant’s Gummies equal 1000mg [or one gram] of ACV.” Compl., ¶ 29. Accordingly,

22   by Plaintiffs’ own allegations, Goli’s advertisement is not only true, but conservative: two gummies

23   contain 8.42% more than one tablespoon of ACV.

24           Plaintiffs’ assertion that a “full shot of ACV is equal to . . . 30ml[,]” Compl., ¶ 30, is

25   unavailing because 30 milliliters is twice the recommended serving size for vinegar. 21 C.F.R. §

26

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     1
       See U.S. Dept. of Agric., Vinegar, cider, (Aug. 31, 2020, 9:25 PM), publicly available at
28   https://fdc.nal.usda.gov/fdc-app.html#/food-details/173469/nutrients.
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 1   101.12(b). Plaintiffs’ position is based on a serving size that is inconsistent with federal regulations,

 2   and through their state-law claims they seek to impose on Defendant requirements that are not

 3   identical to federal law. The 2=1 Statement complies with federal regulations setting the serving

 4   size for vinegar at one tablespoon (and including more than that amount of dried ACV), and thus

 5   “by definition, [is] not considered ‘false or misleading’ under federal law.” Red, 2010 WL 4262037,

 6   at *5. As such, Plaintiffs’ claims are preempted, and the Complaint should be dismissed in its

 7   entirety.

 8   V.      PLAINTIFFS’ COMPLAINT DOES NOT SATISFY RULE 9(B)’S HEIGHTENED
             PLEADING STANDARD
 9

10           Plaintiffs’ claims under California’s Unfair Competition Law (“UCL”), False Advertising

11   Law (“FAL”), Consumer Legal Remedies Act (“CLRA”), and the Florida Deceptive and Unfair

12   Trade Practices Act (“FDUTPA”) are grounded in alleged fraud, and accordingly are subject to Rule

13   9(b)’s heightened pleading standard. See, e.g., Brickman v. Fitbit, Inc., 2016 WL 3844327, at *2

14   (N.D. Cal. July 15, 2016) (acknowledging that Rule 9(b)’s “requirements apply to the UCL, FAL,

15   CLRA, [and] FDUTPA . . . claims in the complaint[.]”); Brazil v. Dole Food Co., Inc., 935 F. Supp.

16   2d 947, 963-964 (N.D. Cal. 2013) (applying Rule 9(b)’s “stringent requirements” to UCL, FAL, and

17   CLRA claims); State Farm Mutual Automobile Ins. Co. v. Performance Orthopaedics &

18   Neurosurgery, LLC, 278 F. Supp. 3d 1307, 1327-1328 (S.D. Fla. 2017) (“where the gravamen of

19   the claim sounds in fraud, . . . the heightened pleading standard of Rule 9(b) applies[]” to FDUTPA

20   claims); Llado-Carreno v. Guidant Corp., 2011 WL 705403, at *5 (S.D. Fla. Feb. 22,

21   2011) (applying Rule 9(b) to a FDUTPA claim and explaining that “[t]he particularity requirement

22   of Rule 9(b) applies to all claims that sound in fraud, regardless of whether those claims are

23   grounded in state or federal law.”). Factual allegations that do not meet the requirements of Rule

24   9(b) deprive the court of the opportunity to “determine exactly how [a defendant] advertised its

25   product[]” and are “too vague to be actionable in federal court.” Gross, 2012 WL 3116158, at *5.

26   Such is the case here: Plaintiffs have failed to allege facts with sufficient particularity as to several

27   key issues.

28           First, the Complaint alleges that both Plaintiffs reviewed the 2=1 Statement and also “the

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 1   accompanying labels, disclosures, warranties, and marketing materials,” which they purportedly

 2   understood to be “representations and warranties by Defendant that two of the Products is equal to

 3   1 shot of Apple Cider Vinegar[.]” Compl., ¶¶ 11, 12. These vague factual allegations are not

 4   sufficient to identify what materials Plaintiffs reviewed, what representations they contained, where

 5   they were found, why Plaintiffs understood them to be “representations and warranties,” or why

 6   Plaintiffs relied on them. Further, the Complaint alleges that Plaintiffs “paid a premium for

 7   Defendant’s Product over comparable products that were not promoted with the misrepresentations

 8   at issue here[,]” Compl., ¶ 6, without specifying the amount of “premium” paid or which

 9   “comparable products” Plaintiffs would otherwise have purchased. The Complaint also claims that

10   “Goli knew that the labeling of the Product is false and misleading to a reasonable customer” without

11   providing facts alleging how Defendant knew this. Id., ¶ 13.

12           Further, the Complaint conspicuously fails to specify the “where” of the misconduct alleged.

13   See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (explaining that

14   “[a]verments of fraud must be accompanied by ‘the who, what, when, where, and how’ of the

15   misconduct charged.”) (quoting Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir.1997)). Plaintiffs do

16   not explain whether they saw the 2=1 Statement on the Product’s label or on its website. This is an

17   important omission on Plaintiffs’ part, because, as discussed above, the 2=1 Statement was taken

18   off of the labels of Products sold online in June of 20192 and was never included on the labels of

19   Products sold in retail stores. See Power Decl., ¶ 3. Thus, Plaintiffs’ motivation for failing to allege

20   this fact with particularity is clear: because they purchased the Product after June 2019, they could

21   not have seen the 2=1 Statement on the Product’s label. Nor do Plaintiffs specifically allege having

22   read the 2=1 Statement on Defendant’s website. See Compl., ¶¶ 11, 12.

23           In short, Plaintiffs’ factual allegations do not comport with Rule 9(b)’s strict pleading

24   requirements. Rather, the Complaint vaguely alleges misconduct, without specifying “exactly how

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       Further, as noted in section II above, the version of the Product’s label bearing the 2=1 Statement
27   was only affixed to some (but not all) bottles sold through online purchases from Goli’s website
     prior to June 2019, and of the products sold online prior to June 2019, only a relatively small number
28   had a label including the 2=1 Statement. See Power Decl., ¶ 3.
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 1   [Goli] advertised its product.” Gross, 2012 WL 3116158, at *5. Without more, Defendant is left to

 2   guess at the misconduct in which it is alleged to have engaged. Accordingly, Plaintiffs’ claims

 3   should be dismissed.

 4   VI.     PLAINTIFFS HAVE NOT PLAUSIBLY ALLEGED A MISLABELLING CLAIM
             UNDER THE UCL, FAL, AND CLRA
 5

 6           To sustain a UCL, FAL, and CLRA mislabeling claim, a plaintiff must show that (1) the

 7   labeling statement violates labeling regulations, (2) they actually relied on the statement in deciding

 8   to buy the product, and (3) they suffered economic harm. Khasin v. R.C. Bigelow, Inc., 2016 WL

 9   4502500, at *2 (N.D. Cal. Aug. 29, 2016) (quoting Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310,

10   323 (2011)). Plaintiffs’ California UCL, FAL and CLRA claims fail because they do not plead a

11   regulatory violation, or that they actually relied on the statement at issue.

12           A.       The Product Does Not Violate Labeling Regulations

13           As addressed in § IV(A) above, Plaintiffs’ claim that the Product’s labeling violates 21

14   U.S.C. § 343(a)(1)’s prohibition against “labeling [that] is false or misleading in any particular”

15   fails because the Product’s label complies with 21 C.F.R. § 101.12’s recommended serving size for

16   vinegar. Without a viable allegation of a particular labeling regulation violation, Plaintiffs’ UCL,

17   FAL, and CLRA claims cannot satisfy the necessary first element of a mislabeling cause of action

18   and therefore must be dismissed.

19           B.       Plaintiffs Do Not Plead Actual Reliance On The Product’s Acetic Acid Content

20           Plaintiffs also fail to plead and cannot establish reliance under the UCL, FAL, and CLRA.

21   To prove reliance, “a plaintiff must show that the misrepresentation was an immediate cause of the

22   injury-producing conduct….” Kwikset Corp., 51 Cal. 4th at 327; see also id. at 326 (cases based on

23   “a fraud theory involving false advertising and misrepresentations to consumers” must show

24   causation and, thus, reliance, “the causal mechanism of fraud”). So, in Plaintiffs’ case, they must

25   plead that Goli’s alleged misrepresentations induced their purchases. Plaintiffs fail to plead reliance

26   because the alleged cause of their injuries (the purported lack of sufficient acetic acid in the ACV

27   gummies) was not a material element of their purchasing decisions. Compl., ¶¶ 24-31. The only

28   statement they claim to have relied on is: “2 gummies is equal to 1 shot of Apple Cider Vinegar.”

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 1   Id., ¶¶ 11-12.3 Plaintiffs do not allege to have relied on anything relating to acetic acid content.

 2           Beasley v. Lucky Stores, Inc. is instructive. In Beasley, the plaintiff purchased flavored coffee

 3   creamer on which the label read “0g Trans Fat,” but which contained partially hydrogenated oil,

 4   which the plaintiff claimed was an artificial form of trans fat. See 400 F. Supp. 3d 942, 948 (N.D.

 5   Cal. 2019). The putative class was defined as purchasers after January 1, 2010, but plaintiff admitted

 6   he did not know until January 2017 that trans fat is harmful, and did not allege he made any

 7   purchases before January 2017. Id. at 948, 959-60. Because plaintiff did not show the “0g Trans

 8   Fat” statement was material to his decision to buy the flavored coffee creamer, the court found that

 9   the allegations in plaintiffs’ complaint were “inadequate to plead reliance.” Id. at 960.

10           Similarly, Plaintiffs here refer to the 2=1 statement throughout their Complaint, but the

11   alleged source of injury is the Product’s acetic acid content. Compl., ¶ 24. Just as in Beasley,

12   Plaintiffs do not allege that the Product’s acetic acid content was a material factor in their purchase

13   decisions, and do not even allege that they knew ACV contains acetic acid (or that they knew what

14   acetic acid was) before their purchases. Rather, Plaintiffs’ only reliance claim is that they relied on

15   Goli’s true “representations and warranties … that two of the Product is equal to 1 shot of Apple

16   Cider Vinegar.” See id., ¶¶ 11-12.

17           Even ignoring Plaintiffs’ failure to plead reliance or satisfy Rule 9(b)—and assuming for the

18   sake of argument that the website information, “labels, disclosures, warranties, and marketing

19   materials” Plaintiffs allege they reviewed before deciding to buy the Product made them aware of

20   acetic acid—that same information also clearly identifies the amount of acetic acid in the Product.

21   Specifically, as discussed above, the Product’s supplement facts unambiguously and accurately

22   indicate that one two-gummy serving contains 1000 milligrams of ACV with 5% acetic acid. See

23   Power Decl., ¶ 5; Exs. A and B to Power Decl. It is therefore disingenuous for Plaintiffs to make

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       Plaintiffs claim they “reviewed information about the Products” in addition to the two equals one
26   statement, but such vague allegations are insufficient to satisfy Rule 8, much less Rule 9(b). See
     Compl., ¶¶ 12-13. Moreover, Plaintiffs link everything they reviewed in addition to the 2=1
27   Statement back to that statement by alleging those other materials were “understood … as
     representations and warranties … that two of the Products is equal to 1 shot of Apple Cider
28   Vinegar[.]” Id.
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 1   themselves out to be sophisticated consumers who reviewed every possible source of information

 2   available to them regarding the Product—except the part they claim was most important to their

 3   purchasing decisions and which purportedly misled them.

 4           Plaintiffs’ failure to plead that the Product’s acetic acid content was material to their

 5   purchasing decisions renders them unable to establish reliance. And, without reliance, Plaintiffs

 6   cannot state a viable mislabeling claim under the UCL, FAL, and CLRA.

 7           C.       Plaintiffs Cannot Establish Reliance On The 2=1 Statement

 8           Plaintiff Borgia alleges that he purchased his Products in October and November of 2019,

 9   while Plaintiff Osmer alleges she purchased hers in March 2020. See Compl., ¶¶ 11, 12.4 Regardless

10   of whether Plaintiffs purchased their products online or at a retail store, they could not have relied

11   on the 2=1 Statement since it has not appeared on labels for Product bought online since June 2019

12   and has never appeared on labels at retail stores. See Power Decl., ¶ 3. Moreover, the version of the

13   Product’s label bearing the 2=1 Statement was only affixed to some (but not all) bottles sold through

14   online purchases from Goli’s website before June 2019, and of those products only a relatively small

15   number had a label including the 2=1 Statement. See Power Decl., ¶ 3. Thus, if Plaintiffs indeed

16   purchased their Products in late 2019 and early 2020 as alleged, they could not have seen the 2=1

17   Statement on the Product label before that purchase. Nor do they allege having reviewed the 2=1

18   Statement on Defendant’s website. Accordingly, they have not plausibly alleged reliance on the 2=1

19   Statement and do not have standing for their claims.

20   VII.    A “REASONABLE CONSUMER” WOULD NOT BE DECEIVED BY THE “TWO
             EQUALS ONE” STATEMENT ON THE LABEL AND, IN ANY EVENT, COULD
21           CLARIFY ITS MEANING BY SIMPLY REVIEWING THE SUPPLEMENT
             FACTS
22
             Where UCL, FAL, and CLRA claims are grounded in fraud, as is the case with Plaintiffs’
23
     claims here, a reasonable consumer standard applies and requires showing an allegedly misleading
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     statement is “likely” to deceive the public. Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th
25
     Cir. 2008); Ries v. Arizona Beverages USA, LLC, 2013 WL 1287416, at *3 (N.D. Cal. Mar. 28,
26

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      As discussed above, Defendant has been unable to locate Ms. Osmer’s online order. see Power
28   Decl., ¶ 4.
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 1   2013). Likely means probable, not just possible. McKinniss v. Sunny Delight Beverages Co., 2007

 2   WL 4766525, at *3 (C.D. Cal. Sept. 4, 2007) (citing Freeman v. Time, Inc., 68 F. 3d 285, 289 (9th

 3   Cir. 1995)).

 4           A reasonable consumer is an “ordinary consumer within the larger population,” not the “least

 5   sophisticated” nor an “unwary consumer.” Hill v. Roll Int’l Corp., 195 Cal. App. 4th 1295, 1304

 6   (2011) (citations omitted). Thus, it follows that a reasonable consumer is also not an “overly

 7   suspicious” consumer. Id. “A representation does not become ‘false and deceptive’ merely because

 8   it will be unreasonably misunderstood by an insignificant and unrepresentative segment of the class

 9   of persons to whom the representation is addressed.” Lavie v. Procter & Gamble Co., 105 Cal. App.

10   4th 496, 506-07 (20093). Plaintiffs here, given the claims they purport to raise, in no way represent

11   “reasonable consumers” of the Product.

12           As addressed in § VIII(A), infra, which discusses the reasonable consumer test for Plaintiffs’

13   FDUTPA claim, which also requires a probable deception, see Zlotnick v. Premier Sales Grp., Inc.,

14   480 F.3d 1281, 1284 (11th Cir. 2007),5 nothing about the 2=1 Statement would lead a reasonable

15   consumer to assume the Product has a specific acetic acid content. That phrase as used makes no

16   reference to acetic acid whatsoever. Only a consumer who has conducted substantial research would

17   associate the 2=1 Statement with scientific studies on acetic acid in ACV and health benefits at

18   various content levels.

19           And, to the extent a reasonable consumer could find the 2=1 Statement unclear with respect

20   to the Product’s nutrient composition, any ambiguity is easily clarified by reference to the Product’s

21   label and the substantial amount of information on Goli’s website, which Plaintiffs purportedly

22   reviewed before purchasing the Product. See Compl., ¶¶ 11-12. Indeed, because “the primary

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       See also Keegan v. Am Honda Motor Co., Inc., 284 F.R.D. 504, 541 (C.D. Cal. 2012) (finding
25   Florida and California both have “the same causation and reliance standard [in their unfair
     competition laws],” with “small differences in wording”); In re 100% Grated Parmesan Cheese
26   Mktg. & Sales Practices Litig., 275 F. Supp. 3d 910, (N.D. Ill. 2017) (noting plaintiffs brought
     claims under “various state consumer protection statutes[,]” including the FDUTPA, CLRA, and
27   UCL, and noting that the “parties cite precedents applying the[] [state] laws interchangeably and
     agree that, while they differ in certain particulars, all share a common requirement: to state a claim,
28   a plaintiff must allege conduct that plausibly could deceive a reasonable consumer”).
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 1   evidence in a false advertising case is the advertising itself[,]” Brockey v. Moore, 107 Cal. App. 4th

 2   86, 100 (2003), a dismissal as a matter of law is proper when the advertising or labeling belie any

 3   plausible deception claim.

 4           Here, the acetic acid information included on the label of the Product belies any plausible

 5   deception claim. Presumably in an effort to avoid early dismissal, Plaintiffs conceal the dispositive

 6   labeling information by including pictures of only two panels. See Compl., ¶¶ 22-23. However, as

 7   set forth in Goli’s Request for Judicial Notice, the “Supplement Facts” panel that Plaintiffs’

 8   Complaint omits to provide for the Court advises consumers that each gummy contains 500 mg of

 9   ACV, 5% of which consists of acetic acid. See Power Decl., ¶ 5; RJN; City of Pomona v. Superior

10   Court, 89 Cal. App. 4th 793, 800 (2001) (“Where written documents are the foundation of an action

11   and are attached to the complaint and incorporated therein by reference, they become a part of the

12   complaint and may be considered on demurrer.”). In other words, a simple and reflexive 90-degree

13   turn to the supplement facts on the Product’s label completely dispels any notion that a reasonable

14   consumer would be deceived by the 2=1 Statement.

15           Moreover, California consumer protection claims cannot be premised upon an allegation that

16   a reasonable consumer “will read a true statement on a package and … assume things about the

17   products other than what the statement actually says.” Red v. Kraft Foods, Inc., 2012 WL 5504011,

18   at *3 (C.D. Cal. Oct. 25, 2012) (emphasis in original) (citation omitted). Yet that is exactly what

19   Plaintiffs allege. They allege that reasonable consumers will read the true 2=1 Statement and make

20   assumptions about the Product’s acetic acid content, despite that Plaintiffs’ “reasonable consumer”

21   reads every substantiation study and supporting information offered on a product. Plaintiffs’

22   allegation is simply untenable. “Every reasonable shopper knows that the devil is in the details,”

23   and that “any potential ambiguity could be resolved by the back panel of the products[.]” Workman

24   v. Plum Inc., 141 F. Supp. 3d 1032, 1035 (N.D. Cal. 2015).

25           As discussed, the 2=1 Statement is a true statement and a reasonable consumer would not

26   read it and assume specific acetic acid levels, even if they knew ACV has acetic acid in it. And, if a

27   reasonable consumer felt the 2=1 Statement was ambiguous, they need only review the label and

28   other Product information—which Plaintiffs admit they did. See Compl., ¶¶ 11-12; see also Hairston

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 1   v. S. Beach Beverage Co., 2012 WL 1893818, at *4-5 (C.D. Cal. May 18, 2012) (misleading

 2   language on vitamin-enriched drink label cannot support a claim as it was not used “in a vacuum”

 3   and ambiguities were clarified by “detailed information … in the ingredient list, which explains the

 4   exact contents”).

 5           In Melendez v. One Brands, LLC, 2020 WL 1283793 (E.D.N.Y. Mar. 16, 2020), a statement

 6   on the front of defendant’s nutrition bars read “1 g sugar.” Plaintiff argued that it deceptively

 7   indicated the bars were low-carb or low-calorie, but the court found a “reasonable consumer” would

 8   look to the nutrition facts to clarify ambiguities. Since those facts objectively clarified any

 9   confusion, Melendez’s claim failed. Id. at *6-7.

10           Plaintiffs’ allegations here are similar. As in Melendez, Plaintiffs are manufacturing

11   ambiguity by drawing an inference from the advertising statement rather than relying on its plain

12   meaning. In Melendez, plaintiff inferred from “1 g sugar” that the bar was low-calorie or low-carb.

13   Similarly, Plaintiffs here purportedly infer from the 2=1 Statement that a serving contains 1,500 mg

14   of acetic acid. See Compl., ¶ 28. But any questions raised by inferences are easily clarified by

15   reference to the nutrition facts and website information. Indeed, the Complaint demonstrates the

16   Product’s acetic acid content is easily derived from those facts. See Compl., ¶¶ 29.

17           In sum, no reasonable consumer would be deceived by the 2=1 Statement. And, if a

18   reasonable consumer wanted to know about acetic acid content, they could review the materials

19   Plaintiffs allege they reviewed.6 Accordingly, the reasonable consumer standard dictates that

20   Plaintiffs’ UCL, FAL, and CLRA claims must be dismissed.

21   VIII. PLAINTIFFS’ CLAIMS UNDER THE FLORIDA DECEPTIVE AND UNFAIR
           TRADE PRACTICES ACT FAIL
22

23           Like Plaintiff Borgia’s claims under California’s consumer protection statutes, Plaintiff

24   Osmer’s claims under FDUTPA, Fla. Stat. § 501.201, et seq., fall short. In order to state a claim

25   under FDUTPA, a complaint must plausibly allege “‘(1) a deceptive act or unfair practice; (2)

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      Plaintiffs themselves recite some of that information, noting the Product “contains 500mg of ACV
28   with 5% Acetic Acid per one gummy.” Id., ¶ 19.
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 1   causation; and (3) actual damages.’” National Numismatic Certification, LLC v. eBay, Inc., 2008

 2   WL 2704404, at *23 (M.D. Fla. July 8, 2008). Plaintiffs’ allegations are insufficient to satisfy the

 3   first two elements.

 4           A.       Plaintiffs’ Interpretation of The 2=1 Statement Constitutes Neither a Deceptive
                      Act Nor an Unfair Practice
 5

 6           Plaintiffs’ strained interpretation of the statement “2 gummies is equal to 1 shot of Apple

 7   Cider Vinegar” would never be shared by a reasonable consumer. Under FDUTPA, “[a] deceptive

 8   act or practice is one that is likely to mislead consumers and an unfair practice is one that offends

 9   established public policy and one that is immoral, unethical, oppressive, unscrupulous or

10   substantially injurious to consumers.” State Farm Mut. Auto Ins. Co. v. Medical Service Center of

11   Florida, Inc., 103 F. Supp. 3d 1343, 1354 (S.D. Fla. 2015) (internal quotations omitted). Further,

12   “‘the first element of a FDUTPA claim is only satisfied by evaluating a reasonable consumer in the

13   same circumstances as plaintiff.’” Maor v. Dollar Thrifty Automotive Group, Inc., 2018 WL

14   4698512, at *6 (S.D. Fla. Sept. 30, 2018) (quoting Deere Constr. v. Cemex Constr. Materials

15   Florida, LLC, 2016 WL 8542540, at *3 (S.D. Fla. Dec. 1, 2016) (emphasis added). Importantly,

16   “[t]his standard requires a showing of probable, not possible, deception[.]” Zlotnick v. Premier Sales

17   Group, Inc., 480 F.3d 1281, 1284 (11th Cir. 2007) (internal quotations omitted).

18           As discussed above, no reasonable consumer would understand the 2=1 Statement to

19   communicate anything at all about the acetic acid content of the gummies. In a similar case, the

20   plaintiff claimed that the defendant’s “use of the ‘percent fat free’ claims in its advertising [was] an

21   unfair or deceptive act” under FDUTPA because it implied that the percentage of fat was based on

22   calories rather than weight, and thus would lead consumers to believe the products contained fewer

23   calories than they actually did. Kuenzig v. Kraft Global Foods, Inc., 2012 WL 366927, at *3 (M.D.

24   Fla. Feb. 3, 2012). The court held that the “percent fat free” claim was neither deceptive nor unfair

25   because “calories [were] not referenced, and given that ‘percent fat free’ claims ha[d] been based

26   on weight, not calories, for the past seventeen years, [the plaintiff had] not alleged a basis upon

27   which it could be concluded that an objectively reasonable person would construe [defendant]'s

28   ‘percent fat free’ claim as being based on the percentage of calories that come from fat.” Id. at *4.

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 1   (dismissing the claims with prejudice). Similarly, here, nothing about the 2=1 Statement would

 2   imply a specific acetic acid content to a reasonable consumer, because the phrase does not reference

 3   acetic acid in any way.

 4           Further, as also discussed above, any potential consumer confusion regarding the Product’s

 5   acetic acid content is clarified by the Product’s supplement facts, which unambiguously show that

 6   two gummies contain 1000 milligrams of Apple Cider Vinegar, with 5% acetic acid. See Exs. A and

 7   B to Power Decl.; Compl., ¶ 29. Under FDUTPA, as under California’s unfair competition statutes,

 8   “even if a statement on a package or advertisement might be ambiguous or unclear in isolation, ‘the

 9   presence of a disclaimer or similar clarifying language may defeat a claim of deception.’” In re

10   100% Grated Parmesan Cheese Marketing and Sales Practices Litigation, 275 F. Supp. 3d at 922

11   (quoting Fink v. Time Warner Cable, 714 F.3d 739, 742 (2d Cir. 2013). Thus, where an allegedly

12   misleading statement is ambiguous, “context can cure the ambiguity and defeat the claim[.]” Id.

13   (dismissing complaint alleging that the statement “100% Grated Parmesan Cheese” was deceptive

14   under FDUTPA, UCL and CLRA.). Here, “Plaintiffs’ claims are doomed by the readily accessible

15   ingredient panels on the products that disclose” the Product’s acetic acid content. Id. at 923. All

16   Plaintiffs needed to do was consult the supplement facts in order to dispel any ambiguity –

17   something a reasonable consumer surely would have done.

18           B.       Plaintiffs Have Failed to Show Causation

19           To allege causation under FDUTPA, a plaintiff must “plead that they were ‘exposed to the

20   Defendants’ advertising and marketing materials alleged to constitute a deceptive trade practice’

21   and that they ‘suffered actual damages as a result of the misrepresentations’ in those materials.”

22   Berenguer v. Warner-Lambert Co., 2003 WL 24299241, at *2 (Fla. Cir. Ct. July 31, 2003) (quoting

23   Montgomery v. New Piper Aircraft, Inc., 209 F.R.D. 221, 229 (S.D. Fla. 2001)) (dismissing

24   complaint because the plaintiffs “[did] not allege that they saw any of the challenged

25   advertisements”); see also Hall v. Bristol-Myers Squibb Co., 2009 WL 5206144, at *8 (D.N.J. Dec.

26   30, 2009) (explaining that in order to state a claim under FDUTPA a plaintiff must allege they were

27   “exposed to Defendants' advertising and marketing materials alleged to constitute a deceptive trade

28   practice and if exposed, the advertising and marketing materials caused Plaintiff and Decedent

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 1   actual damage.”); Davidson v. Apple, Inc., 2018 WL 2325426, at *17 (N.D. Cal. May 8, 2018)

 2   (acknowledging that FDUTPA “require[s] proof of exposure to the allegedly fraudulent omissions

 3   [or statements].”). As discussed above, Plaintiffs have not plausibly alleged that they saw the 2=1

 4   Statement prior to purchasing the Product, and so have failed to plead causation under FDUTPA.

 5           C.       FDUTPA’s “Safe Harbor” Provision Bars Plaintiffs’ Claims

 6           “FDUPTA does not apply to ‘[a]n act or practice required or specifically permitted by federal

 7   or state law.’” Snyder v. Green Roads of Florida, LLC, 430 F. Supp. 3d 1297, 1304-1305 (S.D. Fla.

 8   2020) (quoting Fla. Stat. § 501.212(1)). Pursuant to this “safe harbor” provision, a label that

 9   complies with federal law is “immun[e] from liability[.]” Id.; see also Eirman v. Olde Discount

10   Corp., 697 So.2d 865, 866 (Fla. Dist. Ct. App. 1997) (holding that the plaintiff’s claims fell within

11   FDUTPA’s safe harbor provision because defendant’s practices were “permitted by federal law

12   during the time period at issue[.]”). Here, as discussed in § IV, supra, the 2=1 Statement is

13   specifically permitted by federal regulations setting the serving size for vinegar at one tablespoon,

14   and Plaintiff’s claims are barred by FDUTPA’s safe harbor provision.

15           D.       Plaintiffs Have Not Plausibly Alleged A Per Se Violation of FDUTPA

16           Plaintiffs also state vaguely that the alleged 2=1 Statement “constitutes a per se violation of

17   FDUTPA under Section 501.203(3)(c) because it is in violation of the Florida Food Safety Act, . . .

18   in that said Product is misbranded.” Compl., ¶ 85. However, this conclusory statement is insufficient

19   to state a cause of action and is certainly not enough to satisfy Rule 9(b)’s pleading standard.

20   Plaintiffs have not bothered to explain why the Product can be considered “misbranded,” or even

21   what “misbranded” means under the Florida Food Safety Act.

22           In short, the Complaint fails to plausibly allege the first two elements of a FDUTPA claim,

23   is barred by the statute’s safe harbor provision, and does not establish a per se violation of FDUTPA.

24   Thus, Plaintiffs’ FDUTPA claims should be dismissed.

25   IX.     PLAINTIFFS HAVE NOT PLAUSIBLY ALLEGED BREACH OF ANY EXPRESS
             WARRANTY
26
             Plaintiffs’ express warranty claim fails because Plaintiffs do not identify any specific and
27
     unequivocal written statements about the Product that can be construed as an explicit guarantee.
28

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 1   Plaintiffs’ express warranty claim should thus be dismissed.

 2           To plead a breach of an express warranty “‘one must allege the exact terms of the warranty,

 3   plaintiff’s reasonable reliance thereon, and a breach of that warranty which proximately causes

 4   plaintiff injury.’” See Hadley v. Kellogg Sales Co., 273 F. Supp. 3d 1052, 1092 (N.D. Cal. 2017)

 5   (citing Williams v. Beechnut Nutrition Corp., 185 Cal. App. 3d 135, 142 (1986)). Plaintiffs here do

 6   not allege any “exact warranty terms” at all.

 7           The first element requires the plaintiff to “identify a specific and unequivocal written

 8   statement about the product that constitutes an explicit guarantee.” Id. (citing Arroyo v. TP-Link

 9   USA Corp., 2015 WL 5698752, at *10 (N.D. Cal. Sept. 29, 2015) (alterations and quotation marks

10   omitted). Here, Plaintiffs do not identify a “specific and unequivocal statement.” Rather, Plaintiffs

11   allege Goli warrants the Product “has the same benefits as a full shot of Apple Cider Vinegar” and

12   has “sufficient amounts of ACV to provide benefits,” without reference to a specific statement to

13   that effect. See Compl., ¶ 95. Plaintiffs’ claim thus does not satisfy Rules 8 or 9(b) and must be

14   dismissed. See Martin v. Medtronic, Inc., 2017 WL 825410, at *13 (E.D. Cal. Feb. 24, 2017)

15   (express warranty cause of action that did “not allege the contents of any alleged warranties”

16   dismissed for failure to satisfy federal pleading standards).

17           Paragraph 23 alleges the Product’s labeling says it produces “‘the same age-old benefits of

18   traditional Apple Cider Vinegar without the unpleasant taste,” and that the “website echoes this

19   claim with ‘All of the Age Old Benefits of Traditional ACV.’” However, those allegations are

20   different than the purported warranty Plaintiffs frame in paragraph 95. Indeed, paragraph 23

21   references neither a consumption amount (i.e., “full shot”) nor that the Product has “sufficient

22   amounts” of ACV. Thus, under the federal pleading standards, Plaintiffs are not entitled to an

23   assumption that the statements in paragraph 23 are the “specific and unequivocal written statements”

24   about the Product that “constitute an explicit guarantee.” Plaintiffs’ express warranty claim thus

25   must be dismissed.7

26

27   7
      If paragraph 23 is the benefits statements referenced in paragraph 95, they are not express
     warranties because they are not “an affirmation of fact or a promise or description of the goods.”
28

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 1   X.      CONCLUSION

 2           For the reasons above, Goli respectfully requests that Plaintiffs’ Complaint be dismissed in

 3   its entirety. Plaintiffs cannot establish a plausible claim for relief without omitting key facts and

 4   misrepresenting the nature and substance of the Product’s label and the substantial amount of data

 5   and other information Goli offers consumers about the Product. Accordingly, because Plaintiffs

 6   cannot cure the Complaint’s deficiencies without grounding any such cure on misleading allegations

 7   and representations, leave to amend should not be granted. Lopez v. Smith, 203 F.3d 1122, 1130 (9th

 8   Cir 2000) (en banc) (leave to amend should not be granted if deficiencies cannot by cured by

 9   amendment).

10   DATED: September 4, 2020                   DLA PIPER LLP (US)

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12
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23   Coffelt v. Kroger Co., 2017 WL 10543343, at *6 (C.D. Cal. Jan. 27, 2017) (citations omitted). The
     fact that a statement lacks specifics is an indication that it is not an affirmation of fact. Keith v.
24   Buchanan, 173 Cal. App. 3d 13, 21 (1985). Paragraph 23 does not specify any benefits. Further,
     there is no reliance because the only statement Plaintiffs claim they relied on is the 2=1 Statement.
25   Compl., ¶¶ 11-12. Finally, Plaintiffs’ breach statement is insufficient because it does not identify
     any particular benefit the Product does not offer. Id., ¶ 98 (“the Products do not have the
26   characteristics, uses, or benefits as promised”) (emphasis added). For these reasons, Plaintiffs’
     express warranty claim must be dismissed even if the benefits referenced in paragraph 95 are
27   charitably assumed to be the benefits referenced in paragraph 23. See also Hadley, 273 F. Supp. 3d
     at 1093 (finding that because none of the products at issue “contain[ed] actionably misleading
28   statement[s], the statements on those products cannot create an express warranty”).
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